                       IN THE UNITED STATES DISTRICT COURT
                   FOR THE MIDDLE DISTRICT OF NORTH CAROLINA
                                Case No. 1:23-cv-00423


TIMIA CHAPLIN and PAULINO
CASTELLANOS, on behalf of themselves and
all others similarly situated,

                               Plaintiffs,

       v.
                                                                NOTICE OF APPEARANCE
WILLIE R. ROWE, in his official capacity as
the Sheriff of Wake County; JOHN DOE
SURETY, as surety for the Sheriff of Wake
County; BRIAN ESTES, in his official capacity
as the Sheriff of Lee County; JOHN DOE
SURETY, as surety for the Sheriff of Lee
County; TYLER TECHNOLOGIES, INC.; and
DOES 1 THROUGH 20, INCLUSIVE,

                               Defendants.


       The undersigned, Gagan Gupta, a member of the bar of this Court and an attorney with

the law firm of Tin Fulton Walker & Owen PLLC, hereby gives notice of his appearance as

counsel of record in this action for Plaintiffs and the proposed Class.

       Respectfully submitted this the 23rd day of May, 2023.

                                                      /s/ Gagan Gupta__________________
                                                      Gagan Gupta (NCSB #: 53119)
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                                                      TIN FULTON WALKER & OWEN PLLC
                                                      115 E. Main Street
                                                      Durham, NC 27701
                                                      Telephone: (919) 307-8400, ext. 352

                                                      Counsel for Plaintiffs Timia Chaplin and
                                                      Paulino Castellanos, on behalf of themselves
                                                      and all others similarly situated




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